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                                                       United States District Court
                                                       Central District of California
                                                            **AMENDED**                                                                    JS-3
 UNITED STATES OF AMERICA vs.                                               Docket No.              CR 08-715(A) PSG

                                                                                                7            5   4   6
 Defendant     Thomas Edwin Cochee                                          Social Security No. 4            6   7   5
       Kenneth Anderson; Kevin Ross; Jonathan Houston;
       Nicholas Letterman; Rodney Hudson; Brandon M.                        (Last 4 digits)
 akas: Courtney

                                         JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                     MONTH    DAY    YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.           09   14      2009

  COUNSEL          X WITH COUNSEL                                                     Hayne Yoon, DFPD
                                                                                         (Name of Counsel)

     PLEA           X GUILTY, and the court being satisfied that there is a factual basis for the plea.             NOLO               NOT
                                                                                                                 CONTENDERE           GUILTY
  FINDING          There being a finding/verdict of X GUILTY, defendant has been convicted as charged of the offense(s) of:

                   Bank Fraud, Aiding and Abetting and Causing an Act to be done, in violation of Title 18 U.S.C. § 1344;
                   2(a); 2(b), as charged in Count 9 of the First Superseding Indictment. Aggravated Identity Theft, Aiding
                   and abetting and causing an act to be done, in violation of Title 18 U.S.C. § 1029(a)(2); 2(a), 2(b), as charged
                   in Count 14 of the First Superseding Indictment.

JUDGMENT           The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/          contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM             Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER            custody of the Bureau of Prisons to be imprisoned for a term of: TWENTY-FOUR (24) MONTHS on each Counts
                   9 and 14 to be served concurrently.


It is ordered that the defendant shall pay to the United States a special assessment of $200, which is due immediately.

Defendant shall pay restitution in the total amount of $ 596,798.85 to victims as set forth in a separate victim list
prepared by the Probation Office which this Court adopts and which reflects the Court's determination of the amount of
restitution due to each victim. The victim list, which shall be forwarded to the Fiscal Section of the Clerk's Office,
shall remain confidential to protect the privacy interests of the victims.

Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to
the Bureau of Prisons' Inmate Financial Responsibility Program. If any amount of the restitution remains unpaid after
release from custody, nominal monthly payments of at least $25 shall be made during the period of supervised release.
These payments shall begin 30 days after the commencement of supervision. Nominal restitution payments are ordered
as the court finds that the defendant's economic circumstances do not allow for either immediate or future payment of
the amount ordered.

If the defendant makes a partial payment, each payee shall receive approximately proportional payment unless another
priority order or percentage payment is specified in this judgment.


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The defendant shall be held jointly and severally liable with co-defendant, Stanley Alexander Hudson, for an amount of
$612,436.05. The victims’ recovery is limited to the amount of their loss and the defendant’s liability for restitution
ceases if and when the victims receive full restitution.

Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does not have
the ability to pay interest. Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. §
3612(g).

The defendant shall comply with General Order No. 01-05.

All fines are waived as it is found that the defendant does not have the ability to pay a fine in addition to restitution.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of five years. This
term consists of five years on Count 9 and three years on Count 14 of the First Superseding Indictment, all such terms
to run concurrently under the following terms and conditions:

         1.         The defendant shall comply with the rules and regulations of the U. S. Probation Office and
                    General Order 318;

         2.         The defendant shall refrain from any unlawful use of a controlled substance. The
                    defendant shall submit to one drug test within 15 days of release from imprison-
                    ment and at least two periodic drug tests thereafter, not to exceed eight tests per
                    month, as directed by the Probation Officer;

         3.         The defendant shall participate in an outpatient substance abuse treatment and
                    counseling program that includes urinalysis, breath, and/or sweat patch testing, as
                    directed by the Probation Officer. The defendant shall abstain from using illicit
                    drugs and alcohol, and abusing prescription medications during the period of
                    supervision;

         4.         As directed by the Probation Officer, the defendant shall pay all or part of the
                    costs of treating the defendant's drug dependency to the aftercare contractor
                    during the period of community supervision, pursuant to 18 U.S.C. § 3672. The
                    defendant shall provide payment and proof of payment as directed by the
                    Probation Officer;

         5.         During the period of community supervision the defendant shall pay the special
                    assessment and restitution in accordance with this judgment's orders pertaining to
                    such payment;


         6.         The defendant shall apply monies received from income tax refunds greater than
                    $500, lottery winnings, inheritance, judgements and any anticipated or
                    unexpected financial gains to the outstanding court-ordered financial obligation;

         7.         When not employed or excused by the Probation Officer for schooling, training,
                    or other acceptable reasons, the defendant shall perform 20 hours of community
                    service per week as directed by the Probation Officer;


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         8.         The defendant shall not obtain or possess any driver's license, access devices,
                    Social Security number, birth certificate, passport or any form of identification in
                    any name, other than the defendant’s true legal name; nor shall the defendant use,
                    for any purpose or in any manner, any name other than his true legal name or
                    names without the prior written approval of the Probation Officer;

         9.         The defendant shall not open, use, or maintain a mailbox, business address,
                    mailing address, storage shed, or any address to receive mail, other than the
                    address of his residence, without the prior approval of the Probation Officer; and

         10.        The defendant shall cooperate in the collection of a DNA sample from the
                    defendant.

The defendant is advised of the right to appeal.

On Government's motion, all remaining counts as to this defendant are Ordered dismissed.

The Court recommends that the defendant be designated to a Southern California facility.




 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




              December 1, 2009
              Date                                                   Philip S. Gutierrez, United States District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                     Clerk, U.S. District Court



              December 1, 2009                                 By    Wendy Hernandez
              Filed Date                                             Deputy Clerk



 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                             STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:




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 1.    The defendant shall not commit another Federal, state or local          10. the defendant shall not associate with any persons engaged in
       crime;                                                                      criminal activity, and shall not associate with any person
 2.    the defendant shall not leave the judicial district without the             convicted of a felony unless granted permission to do so by the
       written permission of the court or probation officer;                       probation officer;
 3.    the defendant shall report to the probation officer as directed by      11. the defendant shall permit a probation officer to visit him or her
       the court or probation officer and shall submit a truthful and              at any time at home or elsewhere and shall permit confiscation
       complete written report within the first five days of each                  of any contraband observed in plain view by the probation
       month;                                                                      officer;
 4.    the defendant shall answer truthfully all inquiries by the              12. the defendant shall notify the probation officer within 72 hours
       probation officer and follow the instructions of the probation              of being arrested or questioned by a law enforcement officer;
       officer;                                                                13. the defendant shall not enter into any agreement to act as an
 5.    the defendant shall support his or her dependents and meet                  informer or a special agent of a law enforcement agency
       other family responsibilities;                                              without the permission of the court;
 6.    the defendant shall work regularly at a lawful occupation unless        14. as directed by the probation officer, the defendant shall notify
       excused by the probation officer for schooling, training, or                third parties of risks that may be occasioned by the defendant’s
       other acceptable reasons;                                                   criminal record or personal history or characteristics, and shall
 7.    the defendant shall notify the probation officer at least 10 days           permit the probation officer to make such notifications and to
       prior to any change in residence or employment;                             conform the defendant’s compliance with such notification
 8.    the defendant shall refrain from excessive use of alcohol and               requirement;
       shall not purchase, possess, use, distribute, or administer any         15. the defendant shall, upon release from any period of custody,
       narcotic or other controlled substance, or any paraphernalia                report to the probation officer within 72 hours;
       related to such substances, except as prescribed by a physician;        16. and, for felony cases only: not possess a firearm, destructive
 9.    the defendant shall not frequent places where controlled                    device, or any other dangerous weapon.
       substances are illegally sold, used, distributed or administered;


 X     The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
 to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution , however, are not
 applicable for offenses completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
 Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
 §3563(a)(7).

           Payments shall be applied in the following order:

                     1. Special assessments pursuant to 18 U.S.C. §3013;
                     2. Restitution, in this sequence:
                               Private victims (individual and corporate),
                               Providers of compensation to private victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                     5. Other penalties and costs.




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                              SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

           The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts, including any
 business accounts, shall be disclosed to the Probation Officer upon request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                               These conditions are in addition to any other conditions imposed by this judgment.




                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal




                                                                 CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

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 USA vs.         THOMAS EDWIN COCHEE                                           Docket No.:      CR 08-715 (A) PSG


                                                                   Clerk, U.S. District Court


                                                             By
            Filed Date                                             Deputy Clerk




                                                FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                    Defendant                                                     Date




                    U. S. Probation Officer/Designated Witness                    Date




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                                               NOTICE PARTY SERVICE LIST

Case No.         CR 08-715(A)                     Case Title     U.S.A. -VS- THOMAS EDWIN COCHEE

Title of Document          JUDGMENT AND COMMITMENT ORDER


        ADR                                                                    US Attorneys Office - Criminal Division -S.A.

        BAP (Bankruptcy Appellate Panel)                                       US Bankruptcy Court

 X      BOP (Bureau of Prisons)                                        X       US Marshal Service - Los Angeles (USMLA)

        CA St Pub Defender (Calif. State PD)                                   US Marshal Service - Riverside (USMED)

        CAAG (California Attorney General’s Office -                           US Marshal Service -Santa Ana (USMSA)
        Keith H. Borjon, L.A. Death Penalty Coordinator)
                                                                       X       US Probation Office (USPO)
        Case Asgmt Admin (Case Assignment
        Administrator)                                                         US Trustee’s Office

        Chief Deputy Admin                                                     Warden, San Quentin State Prison, CA

        Chief Deputy Ops
                                                                                ADD NEW NOTICE PARTY
        Clerk of Court                                                          (if sending by fax, mailing address must also be
                                                                                provided)
        Death Penalty H/C (Law Clerks)
                                                                       Name:
        Dep In Chg E Div
                                                                       Firm:
        Dep In Chg So Div
                                                                       Address (include suite or floor):
        Federal Public Defender

 X      Fiscal Section

        Intake Section, Criminal LA
                                                                       *E-mail:
        Intake Section, Criminal SA
                                                                       *Fax No.:
        Intake Supervisor, Civil                                       * For CIVIL cases only
        MDL Panel                                                              JUDGE / MAGISTRATE JUDGE (list below):

        Ninth Circuit Court of Appeal

        PIA Clerk - Los Angeles (PIALA)

        PIA Clerk - Riverside (PIAED)

        PIA Clerk - Santa Ana (PIASA)

 X      PSA - Los Angeles (PSALA)
                                                                                                Initials of Deputy Clerk   IR
        PSA - Riverside (PSAED)

        PSA - Santa Ana (PSASA)

        Schnack, Randall (CJA Supervising Attorney)

        Statistics Clerk


        US Attorneys Office - Civil Division -L.A.

        US Attorneys Office - Civil Division - S.A.

        US Attorneys Office - Criminal Division -L.A.
G-75 (07/08)                                          NOTICE PARTY SERVICE LIST
